      Case 4:07-cv-05944-JST Document 4879-2 Filed 09/24/16 Page 1 of 2




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11                               UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
   In re: CATHODE RAY TUBE (CRT)               Master File No. 3:07-cv-5944 JST
15 ANTITRUST LITIGATION.
                                               MDL No. 1917
16
     This Document Relates to:                 [PROPOSED] ORDER GRANTING
17                                             COOPER & KIRKHAM, P.C.’S
     All Indirect-Purchaser Actions            ADMINISTRATIVE MOTION TO FILE
18                                             UNDER SEAL

19                                             Judge: Honorable Jon S. Tigar

20                                             Before: Special Master Martin Quinn, JAMS

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     [PROPOSED] ORDER GRANTING COOPER &                     Master File No. 3:07-cv-5944 JST
28
     KIRKHAM, P.C.’S ADMINISTRATIVE MOTION                  MDL 1917
     TO FILE UNDER SEAL
      Case 4:07-cv-05944-JST Document 4879-2 Filed 09/24/16 Page 2 of 2




 1         Upon consideration of Cooper & Kirkham, P.C.’s Administrative Motion to File Under

 2 Seal, submitted in connection with the Reply in Support of Cooper & Kirkham, P.C’s Objection to

 3 Lead Counsel’s Revised Proposed Allocation of Aggregate Fee Award to Indirect Purchaser

 4 Plaintiffs’ Counsel, and the supporting Declaration of John D. Bogdanov pursuant to Local Rule

 5 79-5 in support of that motion, and good cause appearing for the entry thereof,

 6         IT IS HEREBY ORDERED that the entirety of Exhibits 1-6 attached to the Second

 7 Declaration of Josef D. Cooper in Support of Cooper & Kirkham, P.C.’s Objection to Lead

 8 Counsel’s Revised Proposed Allocation of Aggregate Fee Award to Indirect Purchaser Plaintiffs’
 9 Counsel.

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11 IT IS DO ORDERED.

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13 Dated: ____________________, 2016                     __________________________________
                                                          HON. JON S. TIGAR
14                                                        UNITED STATES DISTRICT JUDGE
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28 PROPOSED] ORDER GRANTING COOPER &               -1-           Master File No. 3:07-cv-5944 JST
     KIRKHAM, P.C.’S ADMINISTRATIVE MOTION                       MDL 1917
     TO FILE UNDER SEAL
